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  AO 450 (Rev. 01/09)   Judgment in a Civil Action



                             UNITED STATES DISTRICT COURT
                                                        for the
                                             Northern District of Indiana


 MANETIRONY CLERVRAIN
 Febrice Thomas; Roode A. Clervrain; Francis Osei-Fosu; Abel Paul; Makenzie Alexis; Ashley
 Carmelle Dorsainville; Samuel Clervrain; ["Brandako Inc"]
        Plaintiff

                   v.                                                Civil Action No. 4:22-cv-17

 BRAD CHAMBERS, Secretary of Commerce;
 GENERAL CLIF TODEY; JOEL GORELICK; DOMINIC GROTE;
 RICHARD L. JOHNSON, JR.; MICHAEL KUBACKI; DR. JOHN C LECHLEITER;
 KRISTIN M MARCUCCILLI; FRED J. MERRITT; MARK D. MILES;
 DAYTON MOLENDORP; MARK NEAL; AMY SCHUMACHER; JOHN T. THOMPSON;
 LINDA E. WHITE; SUE MCLASKEY; RONALD A. WHITE; STEVEN P. SHREDER;
 KIMBERLY E. WEST;
 JOHN F. HEIL III, Chief Judge of the Northern District of Oklahoma
 JOHN BADALAMENTI; THOMAS BARBER; WENDY BERGER; PAUL BRYON
 SHERI POLSTER CHAPPELL;
 TIMOTHY J. CORRIGAN, Chief US District Judge of Middle District of Florida
 ROY DALTON, JR.; BRIAN DAVIS; CHARLENE HONEYWELL; MARCIA MORALES;
 WILLIAM JUNG; CARLOS MENDOZA; STEVEN MERRYDAY;
 KATHRYN KIMBALL MIZELL; MARY SCRIVEN;
 JUAN R. SANCHEZ, Chief Judge of Eastern District of Pennsylvania;
 CYNTHIA M. RUFE; GENE E.K. PRATTER; PAUL S. DIAMOND;
 MITCHELL S. GOLDBERG; NITZA I. QUINONES ALEJANDRO;
 JEFFREY L. SCHMEHL; GERALD A. MCHUGH; EDOUARD G. SMITH;
 WENDY BEETLESTONE; MARK A KEARNEY; GERALD J. PAPPERT;
 JOSEPH F. LEESON, JR.; CHAD F. KEENY; JOSHUA D. WOLSON;
 JOHN MILTON YOUNGE; KAREN S. MARSTON; JHON M. GALLAGHER;
 WILLIAM P. JOHNSON; O. BROWING; KENNETH J. GONZALES; KEA W. RIGGS;
 MARGARET I. STRICKLAND; MARTHA VAZQUEZ; PHILIP S. GUTIERREZ;
 KIRY K. GRAY
      Defendant (s)

                                      JUDGMENT IN A CIVIL ACTION

 The court has ordered that (check one):

 ☐ the Plaintiff(s),                                                                        recover from the
 Defendant(s)                                                                                 damages in the
 amount of                                             , plus post-judgment interest at the rate of     %
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 ☐ the plaintiff recover nothing, the action is dismissed on the merits, and the defendant
 recover costs from the plaintiff

 x Other: This case is DISMISSED pursuant to 28 U.S.C. § 1915(e)(2)(B).
 This action was (check one):

 ☐ tried to a jury with Judge
 presiding, and the jury has rendered a verdict.

 ☐ tried by Judge
 without a jury and the above decision was reached.


 x decided by Judge Philip P. Simon
 DATE:     3/7/2022                                   GARY T. BELL, CLERK OF COURT

                                                      by   s/S. Kowalsky
                                                           Signature of Clerk or Deputy Clerk
